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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Paulette Dilworth
                                        Plaintiff,
v.                                                        Case No.: 1:18−cv−03081
                                                          Honorable Andrea R. Wood
Allied International Credit Corp.
                                        Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, November 5, 2018:


        MINUTE entry before the Honorable Andrea R. Wood: The parties having filed a
stipulation of dismissal pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) [30], this case is
dismissed without prejudice and with each party to bear its own attorneys' fees and costs.
All pending hearing dates and motions are stricken. Civil case terminated. Mailed
notice(ef, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
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